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                       SETTLEMENT AGREEMENT AND RELEASE

        This Settlement Agreement and Release (“Agreement”) is made and entered into on May
14, 2018, by and among Settlement Class Representatives (as defined in Paragraph 28), for
themselves and on behalf of the Settlement Class (as defined in Paragraphs 26 and 27), and Lincare
Holdings Inc. (“Lincare”), and subject to preliminary and final Court approval as required by Rule
23 of the Federal Rules of Civil Procedure. Settlement Class Representatives and Lincare enter
into this agreement by and through their respective counsel. As provided herein, Lincare and
Settlement Class Representatives hereby stipulate and agree that, in consideration of the promises
and covenants set forth in this Agreement and upon entry by the Court of a final order and
judgment, all claims of the Settlement Class Representatives and the Settlement Class that have or
could have been asserted against Lincare in the action titled Andrew Giancola, Raymond T. Scott,
and Patricia Smith v. Lincare Holdings Inc., Case No. 8:17-cv-002427-VMC-AAS, pending in
the United States District Court for the Middle District of Florida, Tampa Division (the
“Litigation”), shall be settled and compromised upon the terms and conditions contained herein.
Settlement Class Representatives and Lincare collectively are referred to herein as the “Parties.”

       I.      RECITALS

              A.     On February 3, 2017, a cyber-criminal posing as a high-level Lincare
executive emailed a Lincare Human Resources employee and requested W-2 information for all
Lincare employees.

             B.     Believing the email to have emanated from this company executive, the
Human Resources employee responded with “reply to” emails and attached W-2 data for a certain
number of employees of Lincare and its affiliates (the “Phishing Attack”).

                C.     On or about February 10, 2017, Lincare sent notice of the Phishing Attack
to all impacted current and former Lincare employees notifying them that their Personally
Identifiable Information (as defined in Paragraph 15) may have been compromised as a result of
the Phishing Attack. Lincare sent additional notices to impacted employees after the February 10
notice, and made available to all impacted employees two years of complimentary credit
monitoring, remediation services, and identity theft insurance through InfoArmor, Inc.
(“InfoArmor”).

                D.      On October 16, 2017, Andrew Giancola, Raymond T. Scott, and Patricia
Smith filed the Litigation against Lincare, asserting claims against it for alleged negligence, breach
of fiduciary duty, breach of implied contract, and violation of Florida’s Deceptive and Unfair Trade
Practices Act. On December 11, 2017, Lincare moved to dismiss the complaint in its entirety (the
“Motion to Dismiss”). Subsequently, on December 29, 2017, and before responding to the Motion
to Dismiss, the Plaintiffs (as defined in Paragraph 16) filed their First Amended Class Action
Complaint (the “Amended Complaint”). The Plaintiffs’ filing of the Amended Complaint mooted
the pending Motion to Dismiss. Before Lincare responded to the Amended Complaint, the Parties
requested, and the Court granted, a stay in the Litigation so that the Parties could attend mediation.
The Amended Complaint was the operative pleading at the time of mediation.
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                E.     Prior to the Court’s issuance of the stay, the Parties investigated the facts
and law underlying the claims asserted in the Litigation through formal and informal discovery.
Plaintiffs served Interrogatories and two separate Requests for Production on Lincare. Lincare
responded to the written discovery requests and produced hundreds of pages of documents to
Plaintiffs. Lincare served Interrogatories and Requests for Production on all three Plaintiffs.
Plaintiffs responded to the written discovery requests and produced more than 150 pages of
documents to Lincare. The Parties also engaged in informal discovery.

                F.     On February 20, 2018, the Parties participated in a formal mediation session
with mediator Steven Jaffe, Esq., of Upchurch, Watson, White & Max. The formal mediation
session lasted more than 15 hours. Prior to the mediation, the Parties engaged in numerous
telephone conferences negotiating directly among counsel and preparing for mediation, including
separate conversations with the mediator. These discussions also continued after the mediation
and involved the negotiation of numerous documents related to this Settlement, including, with
the assistance of the mediator, the Agreement.

                G.      At the mediation, the Parties reached an understanding in principle
concerning the general terms of a proposed settlement for the Litigation requiring submission of a
final settlement agreement to the Court for preliminary approval. The Parties did not discuss
attorneys’ fees at the mediation, or at any time prior to agreeing to the essential terms of the Parties’
Settlement (as defined in Paragraph 20).

                 H.   Throughout the Litigation, and prior to and after the mediation, Class
Counsel conducted an examination and investigation of the facts and law relating to the matters
set forth in the Amended Complaint and engaged in numerous discussions with Lincare regarding
the claims therein.

               I.      The Parties now agree to settle the Litigation in its entirety, without any
admission of liability, with respect to all Released Claims (as defined in Paragraph 60) of the
Settlement Class. The Parties intend this Agreement to bind the Settlement Class Representatives,
Lincare, and all Settlement Class Members (as defined in Paragraph 22) who do not timely and
properly exclude themselves from the Settlement.

        NOW, THEREFORE, in light of the foregoing, for good and valuable consideration, the
receipt of which is hereby mutually acknowledged, it is hereby stipulated and agreed by the Parties
that the Litigation be settled, compromised, and dismissed on the merits and with prejudice as to
Lincare, subject to Court approval as required by Federal Rule of Civil Procedure 23, on the
following terms and conditions:

       II.      DEFINITIONS

       In addition to the terms defined at various points within this Agreement, the following
defined terms apply throughout this Agreement:

                1.      “Claims Deadline” means ninety (90) days after the Notice Deadline.

                2.      “Claim Form” or “Claim” means the form Settlement Class Members must
submit to be eligible for relief under the terms of the Settlement. The proposed Claim Form, which


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may be modified for formatting purposes, is attached hereto as Exhibit A.

                3.      “Class Counsel” refers to the following attorneys who are counsel for
Plaintiffs and seek to be appointed as counsel for the Settlement Class:

                      JOHNSON FISTEL, LLP
                      Michael I. Fistel. Jr.
                      David A. Weisz
                      Murray House
                      40 Powder Springs Street
                      Marietta, GA 30064
                      Telephone: (770) 200-3104
                      Facsimile: (770) 200-3101
                      Email: MichaelF@johnsonfistel.com
                              DavidW@johnsonfistel.com

                4.      “Court” refers to the Honorable Virginia M. Hernandez Covington, United
States District Court Judge for the Middle District of Florida, Tampa Division, or such other judge
to whom the Litigation may be assigned.

                5.      “Effective Date” means the first business day after which all of the
following events have occurred: (a) Class Counsel and Lincare’s counsel have executed this
Agreement; (b) the Court has entered a Final Judgment; and (c) the time in which to seek review,
rehearing, or appeal, of the Final Judgment has expired without any review, rehearing or appeal
having been sought or taken, i.e., thirty (30) days after entry of judgment, or the Settlement is
affirmed on appeal or review without material change, no other appeal or petition for rehearing or
review is pending, and the time period during which further petition for hearing, review, appeal,
or certiorari could be taken has finally expired. The Effective Date shall not be altered in the event
the Court declines to approve, in whole or in part, the payment of attorneys’ fees and expenses in
the amounts that Class Counsel requests (“Fee Request”). Further, the Effective Date shall not be
altered in the event that an appeal is filed with the sole issue on appeal being the Fee and Expense
Award awarded to Class Counsel (as defined in Paragraph 66).

                6.      “Eligible Incident” means an incident of fraud perpetrated on a Settlement
Class Member, which occurred between February 3, 2017, and the date of a timely submitted
Claim Form, and which is fairly traceable to the Phishing Attack. Eligible Incidents include and
are limited to the following: (i) the filing of a fraudulent/false tax return using a Settlement Class
Member’s name or Personally Identifiable Information; (ii) the opening of a fraudulent/false loan
(including, but not limited to, for example, a mortgage or student loan) using a Settlement Class
Member’s name or Personally Identifiable Information; (iii) the opening of a fraudulent/false credit
card using a Settlement Class Member’s name or Personally Identifiable Information; and (iv) the
filing of a fraudulent/false unemployment claim using a Settlement Class Member’s name or
Personally Identifiable Information.

               7.     “Final Approval” means the date that the Court grants final approval of the
Settlement and determines the amount of fees and expenses to be awarded to Class Counsel and
the amount of the Service Awards to the Settlement Class Representatives (as defined in Paragraph


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65). In the event that the Court issues separate orders addressing the foregoing matters, then Final
Approval means the date of the last of such orders.

               8.     “Final Judgment” means the final judgment and order of dismissal to be
entered by the Court upon Final Approval that is the same in all material respects as set forth in
Section X.

               9.     “Notice” means the forms of notice to be disseminated to Settlement Class
Members informing them, inter alia, about the Agreement; their rights to participate in the
Settlement; to opt-out, or to object to same; and to appear at the Final Approval Hearing, and
instructing them on how to submit a Claim. Notice shall be substantially in the Postcard Notice
and Long Form Notice forms attached as Exhibits B and C, respectively, to this Agreement and
approved by the Court.

             10.     “Notice Deadline” means thirty (30) days after entry of the Preliminary
Approval Order (as defined in Paragraph 44).

                11.    “Notice Program” means the plan for disseminating Notice, as set forth in
this Agreement, which consists of: (1) a direct-mail postcard notice to those Settlement Class
Members for whom Lincare can ascertain a mailing address from its records with reasonable effort,
as updated using a National Change of Address database (“Mail Notice”); (2) creation of a
Telephone Hotline and corresponding call center for Settlement Class Members; and (3) notice
posted on the Settlement Website (as defined in Paragraph 24). The forms of notice shall be
substantially in the Postcard Notice and Long Form Notice forms attached as Exhibits B and C,
respectively, to this Agreement and approved by the Court. The Notice Program shall be effected
in substantially the manner provided in Section IX.

               12.     “Objection Deadline” means sixty (60) days after the Notice Deadline.

               13.     “Opt-Out Deadline” means sixty (60) days after the Notice Deadline.

                14.     “Out-of-Pocket Loss” means any out-of-pocket loss or unreimbursed charge
or expense that is fairly traceable to the Phishing Attack, which was incurred between February 3,
2017, and the date of a timely submitted Claim, and which has not already been fully reimbursed
by Lincare or InfoArmor. Settlement Class Members must submit Reasonable Documentation,
including documentation demonstrating that the Settlement Class Member first submitted the
claim to the InfoArmor identity theft insurance plan that Lincare offered to impacted employees
after the Phishing Attack, and that the claim was denied under the insurance plan or the insurance
plan otherwise did not compensate the Class Member for all losses incurred. Non-exhaustive
examples of Out-of-Pocket Loss include unreimbursed expenses related to fraud and identity theft
resulting from, or related to, the Phishing Attack, as well as any consequential expenses related to
the Phishing Attack, including late fees, declined payment fees, overdraft fees, returned check fees,
customer service fees, card cancellation or replacement fees, credit-related costs related to
purchasing credit reports, credit monitoring, or identity theft protection, costs to place a freeze or
alert on credit reports, professional fees incurred in connection with identity theft, and costs to
replace driver’s licenses, state identification cards, or social security cards.

               15.     “Personally Identifiable Information” means identifiable information


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including, without limitation, name, address, telephone number, birthday, social security number,
financial information, payment card account numbers, expiration dates, card verification values,
and insurance information potentially compromised as a result of the Phishing Attack.

              16.     “Plaintiffs” means the plaintiffs named in the Amended Complaint.

               17.    “Plaintiffs’ Counsel” refers to the attorneys of record who have appeared
on behalf of and as counsel for the Plaintiffs in this Litigation:

                      JOHNSON FISTEL, LLP
                      Michael I. Fistel, Jr.
                      David A. Weisz
                      Murray House
                      40 Powder Springs Street
                      Marietta, GA 30064
                      Telephone: (770) 200-3104
                      Facsimile: (770) 200-3101
                      Email: MichaelF@johnsonfistel.com
                             DavidW@johnsonfistel.com

                             – and –

                      JOHNSON FISTEL, LLP
                      Frank J. Johnson
                      Phong L. Tran
                      600 West Broadway, Suite 1540
                      San Diego, CA 92101
                      Telephone: (619) 230-0063
                      Facsimile: (619) 255-1856
                      Email: FrankJ@johnsonfistel.com
                             PhongT@johnsonfistel.com

                             – and –

                      TRAGOS, SARTES & TRAGOS, PLLC
                      Peter L. Tragos
                      601 Cleveland St., Suite 800
                      Clearwater, FL 33755
                      Telephone: (727) 441-9030
                      Facsimile: (727) 441-9254
                      Florida Bar No.: 0106744
                      Email: PeterTragos@greeklaw.com
                             Linda@greeklaw.com

                18.     “Reasonable Documentation” means documentation submitted by a
Settlement Class Member in support of either an Out-of-Pocket Loss Claim or Eligible Incident
Claim, which tends to show that the Out-of-Pocket Loss or Eligible Incident in question is fairly
traceable to the Phishing Attack. Non-exhaustive examples of Reasonable Documentation include


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credit card statements, bank statements, invoices, official governmental correspondence, and
receipts. A valid Claim cannot be supported solely by a personal certification, declaration, or
affidavit from the claimant or the claimant’s representative(s), but such information may be
considered with other Reasonable Documentation.

               19.    “Releasing Parties” means the Settlement Class Representatives, all
Settlement Class Members who do not timely and properly exclude themselves from the
Settlement, and each of their respective heirs, assigns, beneficiaries, and successors.

               20.     “Settlement” means the settlement into which the Parties have entered to
resolve the Litigation. The terms of the Settlement are as set forth in this Agreement, including
the exhibits hereto.

               21.     “Settlement Administrator” means Epiq Systems, Inc.

                22.     “Settlement Class Members” or “Settlement Class” means all persons who
fall within the settlement class definition set forth in Paragraph 26.

                23.     “Settlement Fund” means the amount of Eight Hundred Seventy-Five
Thousand Dollars and No Cents ($875,000.00) that Lincare will pay pursuant to Paragraphs 34,
37, and 38, as part of the consideration for the releases of all claims as provided in this Agreement.

                 24.     “Settlement Website” means the website that the Settlement Administrator
will establish as soon as practicable following issuance of the Preliminary Approval Order, but
prior to the commencement of the Notice Program, as a means for Settlement Class Members to
obtain notice of and information about the Settlement, through and including hyperlinked access
to this Agreement, the Notice, the Preliminarily Approval Order, the Claim Form, the Amended
Complaint, and such other documents as Class Counsel and Lincare agree to post, or that the Court
orders posted, on the website. These documents shall remain on the Settlement Website at least
until Final Approval. The Settlement Website shall include an “Important Dates” section that
prominently lists the notable dates and deadlines concerning the Settlement, as set forth herein.
The URL of the Settlement Website, if available, shall be www.LHISettlement.com. If this URL
is unavailable, the Settlement Website URL will be agreed upon by Class Counsel and Lincare.
Settlement Class Members shall be able to submit Claim Forms electronically via the Settlement
Website. The Settlement Website shall not include any advertising and shall remain operational
until at least thirty (30) days after the Claims Deadline.

               25.      “Telephone Hotline” means the toll-free telephone number that the
Settlement Administrator will establish as soon as practicable following issuance of the
Preliminary Approval Order, but prior to the commencement of the Notice Program, as a means
for Settlement Class Members to obtain notice of and information about the Settlement. Settlement
Class Members shall be able to request a mailed copy of Claim Forms telephonically via the
Telephone Hotline. The Telephone Hotline shall not include any advertising and shall remain
operational until at least thirty (30) days after the Claims Deadline.

        III.   SETTLEMENT CLASS

               26.     For settlement purposes only, the Parties agree that the Court should certify


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the following Settlement Class pursuant to Fed. R. Civ. P. 23(b)(3), defined as:

               All current and former employees of Lincare Holdings Inc.,
               including its subsidiaries and affiliated companies, who, on or about
               February 3, 2017, had their personally-identifiable information,
               including names, addresses, social security numbers, and/or W-2
               information, compromised and/or disseminated by Lincare to a
               third-party or parties, without authorization or consent.

If for any reason whatsoever this Settlement is not finalized or the Settlement as detailed in this
Agreement is not finally approved by the Court, the certification of the Settlement Class shall be
void, and the Parties and the Litigation will return to the status as it existed on May 13, 2018, and
no doctrine of waiver, estoppel, or preclusion will be asserted in any proceedings, in response to
any motion seeking class certification, or otherwise asserted at any other stage of the Litigation or
in any other proceeding.

                27.     Excluded from the Settlement Class is the Judge presiding over this
Litigation, the Judge’s immediate family members, and any members of the Judge’s judicial staff,
the officers and directors of Lincare and their immediate family members, Class Counsel and their
immediate family members, and persons who timely and validly request exclusion from the
Settlement Class, and the legal representatives of each of these excluded classes of persons.

               28.     For settlement purposes only, Class Counsel shall seek, and Lincare shall
not oppose, the appointment of Johnson Fistel, LLP as Class Counsel and appointment of
Plaintiffs, Andrew Giancola, Raymond T. Scott, and Patricia Smith, as settlement class
representatives (“Settlement Class Representatives”). The Settlement Class Representatives will
move for certification of the Settlement Class contemporaneously with their motion for
preliminary approval of the Settlement. Subject to the provisions set forth in Paragraphs 26 above
and 30, 32, and 72 below, Lincare agrees not to contest certification of the Settlement Class.

        IV.    NO ADMISSION OF LIABILITY

                29.    Lincare vigorously disputes the claims alleged in the Litigation and does
not by this Agreement or otherwise admit any liability or wrongdoing of any kind. Lincare has
agreed to enter into this Agreement solely to avoid the further expense, inconvenience, and
distraction of burdensome and protracted litigation, and to be completely free of any further claims
that were asserted or could have been asserted in the Litigation.

               30.      Class Counsel and Settlement Class Representatives believe that the claims
asserted in the Litigation have merit, and they have examined and considered the benefits to be
obtained under the proposed Settlement set forth in this Agreement and the risks associated with
the continued prosecution of the Litigation. Class Counsel and the Settlement Class
Representatives have concluded that the proposed Settlement set forth in this Agreement is fair,
adequate, reasonable, and in the best interests of the Settlement Class Members.

              31.    The Parties understand and acknowledge that this Agreement constitutes a
compromise and settlement of disputed claims. No action taken by the Parties either previously
or in connection with the negotiations or proceedings connected with this Agreement shall be


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deemed or construed to be an admission of the truth or falsity of any claims or defenses heretofore
made, or an acknowledgment or admission by any party of any fault, liability, or wrongdoing of
any kind whatsoever.

                 32.     Neither the Settlement, nor any act performed or document executed
pursuant to or in furtherance of the Settlement: (i) is or may be deemed to be, or may be used as,
an admission of, or evidence of, the validity of any claim made by Plaintiffs or Settlement Class
Members, or of any wrongdoing or liability of the Released Parties; or (ii) is or may be deemed to
be, or may be used as, an admission of, or evidence of, any fault or omission of any of the Released
Parties, in the Litigation or in any proceeding in any court, administrative agency, or other tribunal.

         V.    SETTLEMENT CONSIDERATION

                33.    In exchange for Plaintiffs’ and Settlement Class Members’ release of claims
as set forth in Section XI, Lincare will provide the following relief as part of the Settlement, as
described below: (i) Establishment of a Settlement Fund pursuant to which Settlement Class
Members may receive monetary relief for Out-of-Pocket Loss Claims or Eligible Incident Claims;
(ii) Additional Relief through Lincare’s provision of certain enhanced Credit and Identity
Monitoring and Protection services (as defined in Paragraph 35); (iii) Non-Monetary Relief, which
includes Lincare’s adoption and maintenance of certain Enhanced Data Security Measures (as
defined in Paragraph 36); and (iv) Additional Class Benefits, which include Lincare’s agreement
to pay, separately from and in addition to all other consideration and relief provided or offered by
Lincare as part of the Settlement, the costs of administration of the Settlement and Class Notice,
any Service Awards approved for or awarded to the Settlement Class Representatives (as defined
in Paragraph 65), and any Fee and Expense Award approved for or awarded to Class Counsel (as
defined in Paragraph 66).

                34.    Establishment of Settlement Fund. The Settlement Fund will total Eight
Hundred Seventy-Five Thousand Dollars and No Cents ($875,000.00). The Settlement Fund will
be used to pay Out-of-Pocket Loss Claims and Eligible Incident Claims, as provided for and
consistent with the separate monetary caps (for Out-of-Pocket Loss Claims and Eligible Incident
Claims) in Section VI, below. To create the Settlement Fund, within twenty (20) calendar days
following the Effective Date, Lincare shall deposit the sum of Eight Hundred Seventy-Five
Thousand Dollars and No Cents ($875,000.00) into an escrow account. Class Counsel and/or the
Settlement Administrator shall timely furnish to Lincare any required account information, wiring
instructions, or necessary forms before the payment is made. The Settlement Fund shall be a
Court-approved Qualified Settlement Fund for federal tax purposes pursuant to Treas. Reg.
§ 1.468B-1. The Settlement Administrator shall be responsible for all administrative, accounting,
and tax compliance activities in connection with the Settlement Fund and the monies deposited
into the Settlement Fund, including any filing necessary to obtain Qualified Settlement Fund status
pursuant to Treas. Reg. § l .468B-l. Lincare shall provide to the Settlement Administrator any
documentation necessary to facilitate obtaining Qualified Settlement Fund status for the Settlement
Fund pursuant to Treas. Reg. § 1.468B-l. All taxes on income or interest generated by the
Settlement Fund, if any, shall be paid out of the Settlement Fund before the payment of any claims
provided in Paragraph 37 below.




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                 35.    Additional Relief to Settlement Class Members. Lincare previously made
available to the Settlement Class Members two years of InfoArmor’s “PrivacyArmor” package,
which included, among other things, (i) credit monitoring; (ii) identity restoration services;
(iii) identity theft insurance; (iv) monthly credit score; (v) annual credit report; (vi) financial
monitoring; (vii) compromised credentials; (viii) wallet protection; (ix) social monitoring;
(x) password protection; (xi) solicitation reduction; and (xii) digital exposure report. These
complimentary services will expire in February 2019. At the expiration of the “PrivacyArmor”
package, all Settlement Class Members will be eligible to receive two additional years of
complimentary enhanced credit and identity monitoring and protection services (“Credit and
Identity Monitoring and Protection”) through TransUnion’s “MyTrueIdentity” package, which
includes, among other things, (i) initial online 3-in-1 credit report and VantageScore credit score
with analysis; (ii) unlimited online access to Settlement Class Members’ TransUnion credit report
that can be updated daily; (iii) unlimited access to Settlement Class Members’ VantageScore
credit score from TransUnion, with analysis, that can be updated daily; (iv) credit score trending;
(v) round-the-clock comprehensive 3-bureau credit monitoring and email alerts when key changes
occur; (vi) instant TransUnion hard inquiry alerts; (vii) access to TransUnion credit lock;
(viii) online credit dispute access; (ix) toll-free access to credit specialists; (x) up to $1,000,000
identity theft insurance with no deductible (policy limitations and exclusions may apply);
(xi) unlimited toll-free 24/7 access to identity theft insurance specialists; (xii) unlimited online
access to credit management and identity theft prevention resources located in the online education
center; (xiii) dark web internet monitoring; (xiv) address change monitoring; (xv) public record
monitoring; (xvi) arrest and incarceration monitoring; (xvii) social security number monitoring;
(xviii) password management; and (xix) access to an Identity Restoration Program that provides
assistance in the event a Settlement Class Member’s identity is compromised. Lincare will pay
the costs of these TransUnion services separate and apart from the Settlement Fund provided for
in Paragraph 34, above. All eligible Settlement Class Members who submit a valid Claim Form
requesting the TransUnion “MyTrueIdentity” package shall receive enrollment instructions from
the Settlement Administrator and be eligible to receive two years of the foregoing complimentary
enhanced Credit and Identity Monitoring and Protection services commencing on February 1,
2019. All costs associated with the TransUnion “MyTrueIdentity” package provided for in this
Agreement shall be borne by and separately paid by Lincare.

               36.     Non-Monetary Relief (Enhanced Data Security Measures). Lincare has
implemented, and/or has agreed to implement, and agrees to maintain, security measures to protect
the Personally Identifiable Information of its employees and former employees for a period of no
less than two (2) years after the Effective Date (“Enhanced Data Security Measures”). The
Enhanced Data Security Measures include the following:

                       a.      Data Risk Assessment. Lincare performs, and will continue to
                               perform, an external HIPAA Risk Assessment at least every two (2)
                               years, as well as an Annual Risk Analysis, that identifies material
                               internal and external risks to the security of employees’ Personally
                               Identifiable Information stored on Lincare’s systems.

                       b.      Head of Information Technology (“IT”). Lincare will continue to
                               maintain a Head of IT to coordinate and be responsible for the
                               company’s program(s) to protect the security of employees’


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                               Personally Identifiable Information. The Head of IT shall also be
                               responsible for implementing and monitoring the company’s data
                               security incident response program(s). The Head of IT shall have
                               training on pertinent cybersecurity, risk management, and data
                               breach and security incident response issues.

                       c.      Updated Spam Filter. Lincare has implemented, and will continue
                               to implement and maintain, an updated spam filter to assist in
                               distinguishing valid and forged emails and preventing the
                               dissemination of personal and confidential information to
                               unauthorized third-parties. The company’s spam filter includes:
                               (i) spam filtering for company emails; (ii) Web and internet filtering
                               to secure the company’s network from harmful websites and
                               malware; and (iii) mechanisms to automatically report phishing
                               activity, including EXTERNAL notifications within email subject
                               lines.

                       d.      Email Notifications. Lincare has implemented, and will continue to
                               implement and maintain, updated email tags to assist in
                               distinguishing emails emanating from external sources.

                       e.      Employee Education. Lincare has provided and will continue to
                               provide training and/or guidance to educate its workforce on an
                               annual basis concerning the following: (i) information security
                               issues; (ii) privacy awareness and the importance of protecting
                               Personally Identifiable Information; and (iii) the importance of
                               identifying and avoiding phishing scams.

       VI.      DISTRIBUTION PLAN AND CLAIMS PROCESS

                37.    Settlement Class Members are eligible to receive monetary relief from the
 Settlement Fund for either Out-of-Pocket Loss Claims or Eligible Incident Claims, as set forth
 below, by submitting a valid and timely Claim Form supported by Reasonable Documentation. In
 order to be deemed timely, Claim Forms must be submitted or postmarked by the last day of the
 Claims Deadline. There will be no obligation to honor or make any payment in connection with
 any Claim Forms submitted or postmarked after the Claims Deadline, even if such Claim Form
 otherwise would be valid. The Settlement Fund shall be distributed to eligible claimants in the
 manner provided below:

                        a.      Out-of-Pocket Loss Claims: An amount up to, but not exceeding,
 Five Hundred Fifty Thousand Dollars and No Cents ($550,000.00) of the Settlement Fund shall
 be used to compensate Settlement Class Members who suffered an Out-of-Pocket Loss, subject to
 the terms and conditions set forth herein and in the Claim Form attached hereto as Exhibit A (“Out-
 of-Pocket Loss Claimant”). Payments for Out-of-Pocket Loss claims shall be made within one
 hundred eighty (180) calendar days after the Effective Date, and shall be capped at One Thousand
 Dollars and No Cents ($1,000.00) per each eligible Out-of-Pocket Loss Claimant. To be eligible
 to receive up to, but not exceeding, One Thousand Dollars and No Cents ($1,000.00) pursuant to


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 this provision, an Out-of-Pocket Loss Claimant must submit a valid and timely Claim Form and
 Reasonable Documentation of Out-of-Pocket Losses on or before the Claims Deadline, and such
 Claim Form must be approved by the Settlement Administrator. Before submitting an Out-of-
 Pocket Loss Claim, an Out-of-Pocket Loss Claimant must first submit a claim through InfoArmor
 to the complimentary identity theft insurance Lincare provided to impacted employees after the
 Phishing Attack. Only if the insurance claim is denied in full or in part by InfoArmor, or if the
 Out-of-Pocket Loss Claimant does not receive a response from InfoArmor within thirty (30)
 calendar days, can the Out-of-Pocket Loss Claimant submit a claim for Out-of-Pocket Losses, and
 documentation of the denied insurance claim or documentation showing the date on which the
 insurance claim was sent to InfoArmor with a statement from the Out-of-Pocket Loss Claimant
 that the insurance claim has not yet been paid or denied, must accompany the Out-of-Pocket Loss
 Claimant’s Claim Form. In the event that the total combined dollar amount of all valid and timely
 submitted Claims (which individually shall not exceed One Thousand Dollars and No Cents
 ($1,000.00) per Out-of-Pocket Loss Claimant) exceeds Five Hundred Fifty Thousand Dollars and
 No Cents ($550,000.00) in the aggregate, the cash payment to be provided to each Out-of-Pocket
 Loss Claimant shall be reduced on a pro rata basis, such that the aggregate dollar amount of the
 cash payments to all Out-of-Pocket Loss Claimants equals Five Hundred Fifty Thousand Dollars
 and No Cents ($550,000.00). The Settlement Administrator shall calculate any such pro rata
 reduction and distribute the monetary amount on such pro rata basis to the Out-of-Pocket Loss
 Claimants. Capping individual claims at One Thousand Dollars and No Cents ($1,000.00) per
 Out-of-Pocket Loss Claimant shall occur before any pro rata reduction occurs to reduce the
 aggregate of all approved claims to Five Hundred Fifty Thousand Dollars and No Cents
 ($550,000.00). Settlement Class Members are permitted to make only a single claim for Out-of-
 Pocket Losses from the Settlement Fund. Out-of-Pocket Loss Claimants whose claims for Out-
 of-Pocket Losses are approved in any amount are prohibited from also making a claim for any
 Eligible Incidents experienced, as set forth below.

                         b.      Eligible Incident Claims: An amount up to, but not exceeding,
 Three Hundred Twenty-Five Thousand Dollars and No Cents ($325,000.00) of the Settlement
 Fund shall be used to compensate Settlement Class Members who experienced an Eligible
 Incident, subject to the terms and conditions set forth herein and in the Claim Form attached hereto
 as Exhibit A (“Incident Claimants”). Payments for Eligible Incidents Claims shall be made within
 one hundred eighty (180) calendar days after the Effective Date, and shall be capped at Five
 Hundred Dollars and No Cents ($500.00) per each Eligible Incident, and further limited to only
 two (2) Eligible Incidents per Incident Claimant. To be eligible to receive Five Hundred Dollars
 and No Cents ($500.00) per Eligible Incident (for up to two (2) Eligible Incidents per Incident
 Claimant) pursuant to this provision, an Incident Claimant must submit a valid and timely Claim
 Form and Reasonable Documentation evidencing at least one Eligible Incident on or before the
 Claims Deadline and in compliance with the terms of the Claim Form attached hereto as Exhibit
 A, and such Claim Form must be approved by the Settlement Administrator. In the event that the
 total combined dollar amount of all valid and timely submitted Eligible Incident Claims (which
 individually shall not exceed Five Hundred Dollars and No Cents ($500.00) per Eligible Incident,
 and a maximum of two (2) Eligible Incidents per Incident Claimant) exceeds Three Hundred
 Twenty-Five Thousand Dollars and No Cents ($325,000.00) in the aggregate, the cash payment to
 be provided to each Incident Claimant shall be reduced on a pro rata basis, such that the aggregate
 dollar amount of the cash payments to all Incident Claimants equals Three Hundred Twenty-Five
 Thousand Dollars and No Cents ($325,000.00). The Settlement Administrator shall calculate any


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 such pro rata reduction and distribute the monetary amount on such pro rata basis to the Incident
 Claimants. Settlement Class Members are not permitted to receive a payment for Out-of-Pocket
 Losses as set forth in Paragraph 37(a), described above, and submit an Eligible Incident Claim or
 Eligible Incident Claims under this provision.

                38.    Following issuance of monetary payments for Out-of-Pocket Loss Claims
 and Eligible Incident Claims, as set forth above, any unused and unpaid monies remaining in the
 Settlement Fund after the mailing of the last Settlement Class Member Claims check shall
 immediately revert back to and will be returned to Lincare, and the Settlement Administrator will
 deliver such reversionary monies to Lincare within five (5) business days after the mailing of the
 last Settlement Class Member Claims check. In addition, to the extent any claims checks issued
 to Settlement Class Members for Out-of-Pocket Loss Claims or Eligible Incident Claims have not
 been redeemed or cashed by the 185th calendar day following the mailing of the last Settlement
 Class Member Claims check, those additional monies corresponding to the unredeemed and
 uncashed claims checks shall also immediately revert back to and will be returned to Lincare, and
 the Settlement Administrator will deliver such reversionary monies to Lincare within five (5)
 business days after the 185th calendar day following the mailing of the last Settlement Class
 Member claims check.

                  39.    For each Claim Form submitted, the Settlement Administrator shall verify
 that each claimant who submits a Claim Form is in fact a Settlement Class Member, and shall have
 the discretion and authority to determine whether and to what extent the claimant is entitled to a
 cash payment for his or her Out-of-Pocket Loss Claim or Eligible Incident Claim, based on the
 submission of a valid and timely Claim Form, any Reasonable Documentation, and the other
 criteria set forth herein. To the extent the Settlement Administrator determines a Claim Form is
 deficient in whole or part (including any deficiency relating to the submission of supporting
 documentation), within ten (10) days of making such a determination, the Settlement
 Administrator shall notify the Settlement Class Member of the deficiencies and give the Settlement
 Class Member twenty (20) days to cure the deficiencies. Such notice shall inform the Settlement
 Class Member that he or she can either attempt to cure the deficiencies outlined in the notice, or
 dispute the determination in writing and request an appeal. If the Settlement Class Member
 attempts to cure the deficiencies but, at the sole discretion and authority of the Settlement
 Administrator, fails to do so, the Settlement Administrator shall notify the Settlement Class
 Member of that determination within ten (10) days of the determination. The notice shall inform
 the Settlement Class Member of his or her right to dispute the determination in writing and request
 an appeal within ten (10) days.

                 40.     If a Settlement Class Member disputes a determination in writing and
 requests an appeal, the Settlement Administrator shall provide Class Counsel and counsel for
 Lincare with a copy of the Settlement Class Member’s dispute and Claim Form along with all
 documentation submitted by the Settlement Class Member. Class Counsel and Lincare’s counsel
 (together “Counsel”) will confer regarding the claim submission, and Counsel’s agreement on
 approval or denial of the Settlement Class Member’s claim, in whole or part, will be final. If
 Counsel cannot agree on approval or denial of the Settlement Class Member’s claim, in whole or
 part, the dispute will be submitted to a Settlement Administrator Referee, who will be agreed upon
 by the Parties. The Settlement Administrator Referee will be a neutral party who was not
 previously involved in the consideration of the claim at issue. The Settlement Administrator


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 Referee’s decision will be final and not subject to appeal or further review. Any costs associated
 with the Settlement Administrator Referee shall be paid out of the portion of the Settlement Fund
 from which the dispute arises (i.e., Out-of-Pocket Loss Claim or Eligible Incident Claim).

                41.    To the extent the Settlement Administrator determines a Claim Form is
 valid and determines that a payment will be issued from the Settlement Fund for either an Out-of-
 Pocket Loss or Eligible Incident, within ten (10) days of making such a determination, the
 Settlement Administrator shall notify Lincare, through Lincare’s counsel, and give Lincare fifteen
 (15) days to review the determination and determine whether to dispute the determination in
 writing and request an appeal.

                42.     If Lincare disputes a Claim determination in writing and requests an appeal,
 Lincare, through its counsel, shall provide Class Counsel with a copy of the disputed Claim Form
 along with all documentation submitted by the Settlement Class Member and any relevant
 documentation from Lincare. Counsel will confer regarding the claim submission, and Counsel’s
 agreement on approval or denial of the Settlement Class Member’s claim, in whole or part, will be
 final. If Counsel cannot agree on approval or denial of the Settlement Class Member’s claim, in
 whole or part, the dispute will be submitted to the Settlement Administrator Referee. The
 Settlement Administrator Referee’s decision will be final and not subject to appeal or further
 review.

                43.     The Settlement Administrator shall pay all approved claims from the
 Settlement Fund. Payments for approved claims shall be issued in the form of a mailed check
 consistent with deadlines in Paragraph 37(a) and (b) above.

       VII.     PRELIMINARY APPROVAL

                44.     Upon execution of this Agreement by the Parties, Class Counsel shall
 promptly file a motion with the Court seeking an order granting preliminary approval of this
 Settlement (“Preliminary Approval Order”), substantially in the form attached hereto as Exhibit E.
 The motion for preliminary approval shall request that the Court: (i) preliminarily approve the
 terms of the Settlement as within the range of fair, adequate, and reasonable; (ii) provisionally
 certify the Settlement Class pursuant to Federal Rule of Civil Procedure 23(b)(3) and (e) for
 settlement purposes only; (iii) approve the Notice Program set forth herein and approve the form
 and content of the Notice; (iv) approve the procedures set forth in Section IX for Settlement Class
 Members to exclude themselves from the Settlement Class or to object to the Settlement; (v) stay
 all proceedings in the Litigation unrelated to the Settlement, pending Final Approval of the
 Settlement; (vi) stay and/or enjoin, pending Final Approval of the Settlement, any actions brought
 by Settlement Class Members concerning a Released Claim (as defined in Paragraph 60);
 (vii) appoint settlement class representatives and settlement class counsel; and (viii) schedule a
 Final Approval hearing for a time and date convenient for the Court, at which the Court will
 conduct an inquiry into the fairness of the Settlement, determine whether it was made in good faith
 and should be finally approved, substantially in the form of the proposed Final Judgment and Order
 of Dismissal with Prejudice attached hereto as Exhibit F (“Final Approval Order”), and determine




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 whether to approve Class Counsel’s application for attorneys’ fees and expenses and Service
 Awards (“Final Approval Hearing”).

                 45.     Lincare shall provide notice of the Settlement to the appropriate state or
 federal officials in accordance with the Class Action Fairness Act of 2005 (“CAFA”).

       VIII.    SETTLEMENT ADMINISTRATOR

                46.     The Settlement Administrator shall administer various aspects of the
 Settlement as provided in Section VI, and perform such other functions as are specified for the
 Settlement Administrator elsewhere in this Agreement, including, but not limited to: (i) overseeing
 administration of the Settlement Fund; (ii) providing Mail Notice to Settlement Class Members as
 described in Section IX; (iii) establishing and operating the Settlement Website and the Telephone
 Hotline; (iv) administering the Claims processes; (v) approving and disapproving Claims
 submitted pursuant to the Claim Forms, and (vi) distributing cash payments according to the
 processes and criteria set forth herein and in the exhibits hereto.

                 47.     The duties of the Settlement Administrator, in addition to other
 responsibilities that are described in this Agreement, include:

                       a.      Obtaining from Lincare the name and mailing address of Settlement
                               Class Members for the purpose of sending Mail Notice to Settlement
                               Class Members to the extent that such information is reasonably
                               available from Lincare’s records and updating the addresses using a
                               National Change of Address database;

                       b.      Obtaining from Lincare information necessary to establish a
                               reasonably practical procedure to verify Settlement Class Members
                               who, during the period beginning on or about February 3, 2017, and
                               continuing through the present, had their Personally Identifiable
                               Information, including names, addresses, social security numbers,
                               and/or W-2 information, compromised and/or disseminated by
                               Lincare to a third-party or parties, without authorization or consent;

                       c.      Establishing and maintaining a post office box for mailed written
                               notifications of exclusion from the Settlement Class;

                       d.      Establishing and maintaining a secure Settlement Website allowing
                               access only to the Settlement Class Members, Class Counsel,
                               Lincare’s counsel, and the Settlement Administrator;

                       e.      Establishing and maintaining the Telephone Hotline for Settlement
                               Class Members to call with Settlement-related inquiries or request
                               mailed copies of the electronic Claim Form;

                       f.      Responding to any mailed Settlement Class Member inquiries;

                       g.      Processing all written notifications of exclusion from the Settlement


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                              Class;

                       h.     Providing weekly reports and, no later than ten (10) days after the
                              Opt-Out Deadline, a final report to Class Counsel and Lincare’s
                              counsel, that summarizes the number of written notifications of
                              exclusions received that week, the total number of written
                              notifications of exclusions received to date, and other pertinent
                              information as requested by Class Counsel or Lincare’s counsel;

                       i.     In advance of the Final Approval Hearing, preparing an affidavit to
                              submit to the Court that: (i) attests to implementation of the Notice
                              Program in accordance with the Preliminary Approval Order; and
                              (ii) identifies each Settlement Class Member who timely and
                              properly provided written notification of exclusion from the
                              Settlement Class;

                       j.     Reviewing, determining the validity of, approving or disapproving,
                              and responding to all Claims submitted by Settlement Class
                              Members, pursuant to criteria set forth in Section VI and the
                              Distribution and Allocation Plan attached hereto as Exhibit D;

                       k.     After the Effective Date, processing and transmitting distributions
                              to Settlement Class Members in accordance with Section VI and the
                              exhibits attached hereto;

                       l.     Providing weekly reports and a final report to Class Counsel and
                              Lincare that summarize the number of Claims since the prior
                              reporting period, the total number of Claims received to date, the
                              number of any Claims approved and denied since the prior reporting
                              period, the total number of Claims approved and denied to date, and
                              other pertinent information as requested by Class Counsel or
                              Lincare; and

                       m.     Performing any function related to settlement administration at the
                              agreed-upon instruction of Class Counsel and Lincare’s counsel,
                              including, but not limited to, verifying that cash payments have been
                              distributed in accordance with Section VI and the exhibits attached
                              hereto.

                48.     All costs associated with the Settlement Administrator’s provision of the
 services provided for in this Agreement shall be borne by and separately paid by Lincare. Such
 payment by Lincare to the Settlement Administrator shall be separate from and in addition to
 Lincare funding the Settlement Fund as provided for in Paragraph 34, above, and funds paid by
 Lincare to provide Credit and Identity Monitoring and Protection services as additional relief to
 Settlement Class Members, as provided for in Paragraph 35, above.




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         IX.    NOTICE, OPT-OUTS, AND OBJECTIONS

                 49.     Upon issuance of the Preliminary Approval Order regarding the Settlement,
 at the direction of Lincare, the Settlement Administrator will implement the Notice Program
 provided herein, using the forms of Notice approved by the Court in the Preliminary Approval
 Order, but, in any event, the Settlement Administrator will place the Mail Notices for delivery by
 the Notice Deadline. The Notice will include, among other information: (i) a short and plain
 statement of the background of the Litigation and description of the nature and scope of Plaintiffs’
 claims; (ii) a description of the Settlement and the relief provided thereunder; (iii) an explanation
 of the scope and impact of the release provided under the Settlement; (iii) a statement that any
 relief to Settlement Class Members is contingent on the Court’s approval of the Settlement;
 (iv) the manner and dates by which Settlement Class Members may object to or opt-out of the
 Settlement; (v) the date upon which the Final Approval Hearing will occur; and (vi) the web
 address of the Settlement Website at which Settlement Class Members may access this Agreement,
 the Claim Form, and other related documents and information concerning the Settlement.

                50.     The Notice Program has three components: (1) Mail Notice; (2) Notice on
 the Settlement Website; and (3) the Telephone Hotline. The Settlement Administrator shall send
 direct Mail Notice to all Settlement Class Members for whom Lincare can ascertain a mailing
 address from its records with reasonable effort, as updated through the use of a National Change
 of Address database. For any Mail Notices that are returned undeliverable with forwarding address
 information, the Settlement Administrator shall re-mail the Mail Notice to the updated address as
 indicated. For any Mail Notices that are returned undeliverable without forwarding address
 information, the Settlement Administrator shall use reasonable efforts to identify updated mailing
 addresses and shall re-mail the Mail Notice to the extent updated addresses are identified. The
 Settlement Administrator need make only one attempt to re-mail any Mail Notice that is returned
 as undeliverable.

                 51.     The Notice shall include a procedure for a Settlement Class Member to
 exclude himself or herself from the Settlement Class by notifying the Settlement Administrator in
 writing of the intent to exclude himself or herself from the Settlement Class. Such written
 notification must be postmarked no later than the Opt-Out Deadline, as specified in the Notice.
 The written notification must include: (i) the name of this Litigation; (ii) the individual’s name and
 address; (iii) a statement that he or she wants to be excluded from the Litigation; and (iv) the
 individual’s signature. The Settlement Administrator shall provide the Parties with copies of all
 opt-out notifications, and a final list of all who have timely and validly excluded themselves from
 the Settlement Class, which Class Counsel may move to file under seal with the Court no later
 than ten (10) days prior to the Final Approval Hearing. Any Settlement Class Member who does
 not timely and validly exclude himself or herself shall be bound by the terms of the Settlement.

                 52.     The Notice shall also include a procedure for Settlement Class Members to
 object to the Settlement and/or to Class Counsel’s application for attorneys’ fees and expenses,
 and Service Awards (as defined in Paragraph 65). Objections to the Settlement or to the
 application for fees, costs, and expenses and Service Awards must be filed electronically with the
 Court, or mailed to the Clerk of the Court, Class Counsel, and Lincare’s counsel. For an objection
 to be considered by the Court, the objection must be: (a) electronically filed by the Objection
 Deadline; or (b) mailed first-class postage prepaid to the Clerk of Court, Class Counsel and


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 Lincare’s counsel, at the addresses provided at the Settlement Website, and postmarked by no later
 than the Objection Deadline, as specified in the Notice. For an objection to be considered by the
 Court, the objection must also set forth the following:

                       a.      the name of the Litigation;

                       b.      the objector’s full name, address, email address, and telephone
                               number;

                       c.      an explanation of the basis upon which the objector claims to be a
                               Settlement Class Member;

                       d.      all grounds for the objection, accompanied by any legal support for
                               the objection;

                       e.      the identity of all counsel who represent the objector, including any
                               former or current counsel who previously represented the objector
                               and may be entitled to compensation for any reason related to the
                               objection to the Settlement, the fee application, or the application
                               for Service Awards;

                       f.      the identity of all counsel representing the objector who will appear
                               at the Final Approval Hearing;

                       g.      the number of times in which the objector has objected to a class
                               action settlement within the five years preceding the date on which
                               the objector files the objection, the caption of each case in which the
                               objector has made such objections, and a copy of any orders related
                               to or ruling upon the objector’s prior such objections that were
                               issued by the trial and appellate courts in each listed case;

                       h.      the number of times in which the objector’s counsel and/or counsel’s
                               law firm have objected to a class action settlement within the five
                               years preceding the date that the objector files the objection, the
                               caption of each case in which the counsel or the firm has made such
                               objections, and a copy of any orders related to or ruling upon
                               counsel’s or the firm’s prior such objections that were issued by the
                               trial and appellate courts in each listed case;

                       i.      any and all agreements that relate to the objection or the process of
                               objecting, whether written or verbal, between the objector or
                               objector’s counsel and any other person or entity;

                       j.      a list of any persons who will be called to testify at the Final
                               Approval Hearing in support of the objection;

                       k.      a statement confirming whether the objector intends to personally
                               appear and/or testify at the Final Approval Hearing; and


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                        l.      the objector’s signature on the written objection (an attorney’s
                                signature is not sufficient).

               53.     The Mail Notice portion of the Notice Program shall be completed by the
 Notice Deadline, excluding any re-mails for Mail Notices that are returned undeliverable.

                54.    The Settlement Administrator shall post the Notice on the Settlement
 Website in the form agreed to by the Parties and approved by the Court. The Notice shall be posted
 on the Settlement Website by the Notice Deadline.

               55.     Within seven (7) days after the Notice Deadline, the Settlement
 Administrator shall provide Class Counsel and Lincare’s counsel with one or more affidavits
 confirming that the Mail Notice, posting of Notice on the Settlement Website, and creation of the
 Telephone Hotline were completed in accordance with the Parties’ instructions and the Court’s
 approval. Class Counsel shall file such affidavit(s) with the Court as an exhibit to or in conjunction
 with Settlement Class Representatives’ motion for final approval of the Settlement.

                 56.     Lincare shall pay all costs and expenses associated with providing Notice
 to Settlement Class Members and the implementation of the Notice Plan including, but not limited
 to, the Settlement Administrator’s fees. Such payment by Lincare shall be made separate from
 and in addition to Lincare funding the Settlement Fund, as provided for in Paragraph 34, above,
 and funds paid by Lincare to provide Credit and Identity Monitoring and Protection services as
 additional relief to Settlement Class Members, as provided for in Paragraph 35, above.

          X.    FINAL JUDGMENT

                 57.     Settlement Class Representatives’ motion for preliminary approval of the
 Settlement will include a request to the Court for a scheduled date on which the Final Approval
 Hearing will occur. By no later than thirty (30) days after to the Notice Deadline, Plaintiffs shall
 file a motion for final approval of the Settlement and a motion for attorneys’ fees and expenses,
 and for Service Awards. By no later than seven (7) days prior to the Final Approval Hearing, the
 Parties shall file responses, if any, to any Settlement Class Member objections, including any
 objections to the requested attorneys’ fees and expense reimbursement, and to file additional
 papers in support of the Settlement or Service Awards request.

                 58.    At the Final Approval Hearing, the Court will consider Settlement Class
 Representatives’ motion for final approval of the Settlement, and Class Counsel’s application for
 attorneys’ fees and expenses, and for Service Awards. In the Court’s discretion, the Court also
 may hear argument at the Final Approval Hearing from any Settlement Class Members (or their
 counsel) who object to the Settlement or to the application for attorneys’ fees and expenses, and
 for Service Awards, provided the objectors filed timely objections that meet all of the requirements
 listed in Paragraph 52, above.

               59.     At or following the Final Approval Hearing, the Court will determine
 whether to enter the Final Judgment granting final approval of the Settlement, and whether to
 approve Class Counsel’s request for attorneys’ fees and expenses and the Service Awards. The
 proposed Final Judgment that will be filed with the motion for final approval shall be in a form
 agreed upon by Class Counsel and Lincare’s counsel. Such proposed Final Judgment shall, among


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 other things:

                        a.     Determine that the Settlement is entered into in good faith, is fair,
                               adequate, and reasonable, and is in the best interests of the
                               Settlement Class;

                        b.     Determine that the Settlement includes no admission of liability by
                               Lincare;

                        c.     Finally certify the Settlement Class for settlement purposes only;

                        d.     Determine that the Notice provided under the Notice Program
                               satisfied Due Process requirements and Rule 23 by providing due,
                               adequate, and sufficient notice to the Settlement Class;

                        e.     Dismiss the Litigation with prejudice;

                        f.     Bar and enjoin the Releasing Parties from asserting any of the
                               Released Claims, as set forth in Section XI, including during the
                               pendency of any appeal from the Final Judgment;

                        g.     Release Lincare and the Released Parties from the Released Claims,
                               as set forth in Section XI;

                        h.     Release Plaintiffs and Plaintiffs’ Counsel from any and all claims
                               that Lincare may have now or in the future relating to the institution,
                               prosecution, and settlement of the Litigation, as set forth in Section
                               XI;

                        i.     Reserve the Court’s continuing and exclusive jurisdiction over
                               Lincare, and all Settlement Class Members (including all objectors),
                               to administer, supervise, construe, and enforce this Agreement in
                               accordance with its terms; and

                        j.     Contain a finding that, during the course of the Litigation, the
                               Parties and their respective counsel at all times complied with the
                               requirements of Rule 11 of the Federal Rules of Civil Procedure and
                               all other similar laws relating to the institution, prosecution, defense,
                               and/or settlement of this Litigation.

         XI.     RELEASES

                60.    As of the Effective Date, the Releasing Parties, each on behalf of himself or
 herself and on behalf of his or her respective spouses, children, heirs, assigns, beneficiaries, and
 successors, shall automatically be deemed to have fully and irrevocably released and forever
 discharged Lincare, which includes Lincare Holdings Inc., and each of its present and former direct
 and indirect, domestic and foreign parents, subsidiaries, divisions, affiliates, predecessors,
 successors, and assigns, and the present and former directors, officers, employees, agents, insurers


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 or reinsurers, shareholders, attorneys, advisors, consultants, representatives, partners, joint
 venturers, independent contractors, wholesalers, resellers, distributors, retailers, predecessors,
 successors, and assigns of each of them (collectively the “Released Parties”), jointly and severally,
 of and from any and all liabilities, rights, claims, actions, causes of action, demands, damages,
 penalties, costs, attorneys’ fees, losses, and remedies, whether known or unknown, existing or
 potential, suspected or unsuspected, liquidated or unliquidated, legal, statutory, or equitable, that
 result from, arise out of, are based upon, or relate to the Phishing Attack that were or could have
 been alleged in the Litigation, including, without limitation, any claims, actions, causes of action,
 demands, damages, penalties, losses, or remedies relating to, based upon, resulting from, or arising
 out of: (1) the theft, exposure, or disclosure of Settlement Class Members’ Personally Identifiable
 Information; (2) Lincare’s maintenance, retention, storage, and destruction of Settlement Class
 Members’ Personally Identifiable Information; (3) Lincare’s information security policies,
 procedures, and practices or training; and (4) Lincare’s notice of the Phishing Attack to Settlement
 Class Members (the “Released Claims”).

                  61.     For the avoidance of doubt, the Released Claims include any claims that a
 Releasing Party may have under the law of any jurisdiction, including, without limitation, those
 arising under state or federal law of the United States (including, without limitation, any causes of
 action under the California Business & Professions Code § 17200 et seq., California Civil Code
 § 1750 et seq., California Civil Code § 1798.80 et seq., California Civil Code § 56.10 et seq., and
 any similar statutes or data breach notification statutes in effect in the United States or in any state
 in the United States); causes of action under the common or civil laws of any state in the United
 States, including but not limited to: unjust enrichment, negligence, bailment, conversion,
 negligence per se, breach of contract, breach of implied contract, breach of fiduciary duty, breach
 of implied covenant of good faith and fair dealing, misrepresentation (whether fraudulent,
 negligent, or innocent), fraudulent concealment or nondisclosure, invasion of privacy, public
 disclosure of private facts, and misappropriation of likeness and identity; any causes of action
 based on trade practices provided for under any state statutes or laws; any causes of action based
 on privacy rights provided for under the constitutions of the United States or of any state in the
 United States; and also including, but not limited to, any and all claims in any state or federal court
 of the United States, for damages, injunctive relief, restitution, disgorgement, declaratory relief,
 equitable relief, attorneys’ fees and expenses, pre-judgment interest, credit or financial account
 monitoring services, identity theft insurance, the creation of a fund for future damages, statutory
 penalties, restitution, the appointment of a receiver, and any other form of relief. The Released
 Claims do not include any claims arising from or relating to any conduct by Lincare after the
 Effective Date.

         The Releasing Parties understand that the Releasing Parties are releasing Released Claims
 that the Releasing Parties may not know about. Such a release is the Releasing Parties’ knowing
 and voluntary intent, even though the Releasing Parties recognize that someday the Releasing
 Parties might learn that some or all of the facts the Releasing Parties currently believe to be true
 are not true. Nevertheless, the Releasing Parties are assuming that risk and the Releasing Parties
 agree that this Agreement shall remain effective in all respects in any such case. The Releasing
 Parties expressly waive all rights the Releasing Parties might have under any law that is intended
 to protect the Releasing Parties from waiving unknown Released Claims and the Releasing Parties
 understand the significance of doing so. California Civil Code Section 1542 provides as follows:



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                A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT
                TO EXIST IN HIS OR HER FAVOR AT THE TIME OF
                EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM
                OR HER MUST HAVE MATERIALLY AFFECTED HIS OR
                HER SETTLEMENT WITH THE DEBTOR.

 The Releasing Parties have read and understand California Civil Code Section 1542, and expressly
 acknowledge and agree that any and all rights under Section 1542 of the California Civil Code,
 other than any rights specifically reserved by law or regulation, are waived.

                 62.    As of the Effective Date, Lincare will be deemed to have completely
 released and forever discharged Plaintiffs, and their respective heirs, representatives, and assigns,
 and present and former attorneys, accountants, experts, consultants, insurers, and agents of each
 of them, from any and all liabilities, rights, claims, counterclaims, set-offs, actions, causes of
 action, demands, damages, penalties, costs, attorneys’ fees, losses, and remedies, whether known
 or unknown, existing or potential, suspected or unsuspected, liquidated or unliquidated, legal,
 statutory, or equitable, that result from, arise out of, are based upon, or relate to the institution,
 prosecution, and settlement of the Litigation.

                 63.     The Final Judgment shall contain a finding that, during the course of the
 Litigation, the Parties and their respective counsel at all times complied with the requirements of
 Rule 11 of the Federal Rules of Civil Procedure and all other similar laws relating to the institution,
 prosecution, defense, or settlement of this Litigation. No Party or Related Person of a Party shall
 assert any claims for violation of Rule 11 of the Federal Rules of Civil Procedure, or any other
 similar laws relating to the institution, prosecution, defense, and/ or settlement of the Litigation.
 The Parties agree that the Released Claims are being settled voluntarily after consultation with an
 experienced mediator and legal counsel who could assess the strengths and weaknesses of their
 respective clients’ claims or defenses.

                64.    Upon entry of the Final Judgment, the Releasing Parties and Lincare shall
 be enjoined from prosecuting any claim they have released in the preceding paragraphs in any
 proceeding against any of the Released Parties, Plaintiffs, and their counsel, or based on any
 actions taken by any of the Released Parties, Plaintiffs, or their counsel that are authorized or
 required by this Agreement or by the Final Judgment. It is further agreed that the Settlement may
 be used as a complete defense to any proceeding subject to this section.

        XII.    ATTORNEYS’ FEES AND EXPENSES, AND SERVICE AWARDS

                65.     Plaintiffs’ Counsel will ask the Court to approve, and Lincare will not
 oppose, service awards not to exceed $1,000 for each Settlement Class Representative, which are
 intended to compensate such individuals for their efforts in the Litigation and commitment on
 behalf of the Settlement Class (“Service Awards”). Any Service Awards approved shall be paid
 by Lincare separate from and in addition to Lincare’s funding of the Settlement Fund, as provided
 for in Paragraph 34, above, and funds paid by Lincare to provide Credit and Identity Monitoring
 and Protection services as additional relief to Settlement Class Members, as provided for in
 Paragraph 35, above. Any Service Awards approved shall be payable consistent with the timing


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 for paying the Fee and Expense Award, as described in Paragraph 67.

                 66.     Lincare agrees that Plaintiffs’ Counsel is entitled to a reasonable award of
 attorneys’ fees and expenses (“Fee and Expense Award”) in an amount that would fairly
 compensate Plaintiffs’ Counsel for the risks they undertook in commencing and prosecuting the
 Litigation on a contingency basis and for the benefits obtained for and conferred upon Plaintiffs
 and the Settlement Class through prosecution of the Litigation and negotiation of the Settlement,
 subject to Court approval. Plaintiffs’ Counsel agrees that they will not seek attorneys’ fees or
 expenses in amounts that exceed the amounts listed for Plaintiffs’ Counsel’s attorneys’ fees or
 expenses in the Postcard Notice and Long Form Notice, attached to the Agreement as Exhibits B
 and C, respectively. The Parties have been engaged in a good faith effort to reach an agreement
 as to a reasonable monetary amount for the Fee and Expense Award, and the Parties intend to
 continue such efforts. To the extent the Parties do reach an agreement as to a reasonable monetary
 amount for the Fee and Expense Award, Lincare shall waive its right to object to or oppose a fee
 and expense request not exceeding the agreed-upon Fee and Expense Award. To the extent the
 Parties do not reach an agreement as to a reasonable monetary amount for the Fee and Expense
 Award, Plaintiffs’ Counsel shall reserve its right to file an application with the Court for
 determination of its reasonable fees and expenses in connection with the Litigation, and Lincare
 shall reserve its right to oppose the amounts requested in Plaintiffs’ Counsel’s fee and expense
 application on any appropriate grounds. Plaintiffs’ Counsel shall make any fee and expense
 request to the Court no later than thirty (30) days after the Notice Deadline. The finality or
 effectiveness of the Settlement will not be dependent on the Parties reaching an agreement as to a
 reasonable monetary amount for the Fee and Expense Award or the Court approving the fee and
 expense request, and shall not alter the Effective Date. The Fee and Expense Award paid to
 Plaintiffs’ Counsel will be paid by Lincare separate from and in addition to all other consideration
 and relief offered or provided by Lincare as part of the Settlement, including without limitation,
 Lincare’s funding of the Settlement Fund, as provided for in Paragraph 34, above, and funds paid
 by Lincare to provide Credit and Identity Monitoring and Protection services as additional relief
 to Settlement Class Members, as provided for in Paragraph 35, above.

                 67.     To the extent the Parties do reach an agreement as to a reasonable monetary
 amount for the Fee and Expense Award, the Fee and Expense Award shall be paid into an escrow
 account controlled by the Settlement Administrator within thirty (30) calendar days of such
 agreement, and shall be releasable within three (3) business days after entry of an order granting
 final approval of the Settlement and approving the Fee and Expense Award, notwithstanding the
 existence of any collateral attacks on the Settlement, including without limitation, any objections
 or appeals. In such instance, in the event the Settlement is not approved, or is terminated,
 cancelled, or fails to become effective for any reason, including, without limitation, in the event
 the Final Judgment is reversed or vacated or materially modified, amended, or changed, or if the
 Fee and Expense Award is not approved in full by a reviewing Court, or is reduced on appeal,
 within ten (10) business days after written notification is sent by Lincare’s counsel, Plaintiffs’
 Counsel shall refund the appropriate portion of the Fee and Expense Award to Lincare and/or its
 insurer(s) by wire transfer in accordance with the instructions to be provided by Lincare’s counsel.
 To the extent the Parties do reach an agreement as to a reasonable monetary amount for the Fee
 and Expense Award prior to Postcard Notices being sent pursuant to Section IX, and if sufficient
 time exists to modify the notices prior to the Notice Deadline, the Parties will update the Postcard
 Notice and Long Form Notice, attached to the Agreement as Exhibits B and C, without seeking


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 Court approval, to reflect the agreed upon amounts, with any such costs related to the modification
 being borne solely by Lincare and/or its insurers. To the extent the Parties do not reach an
 agreement as to a reasonable monetary amount for the Fee and Expense Award, Lincare shall pay
 any such Fee and Expense Award as awarded by the Court into an escrow account controlled by
 the Settlement Administrator within twenty (20) calendar days following a Court order on the Fee
 and Expense Award, with such Fee and Expense Award being immediately releasable upon such
 order awarding the Fee and Expense Award becoming a “final” order. For the purposes of this
 paragraph, “final” is defined as to the date upon which such order becomes a final and binding
 order of the Court and has not been reversed, vacated, or modified in any way and is no longer
 subject to appellate review, either because of disposition on appeal and conclusion of the appellate
 process or because of passage, without action, of time for seeking appellate review. Johnson Fistel,
 LLP shall timely furnish to Lincare and/or its insurer(s) any required tax information, account
 information, or necessary forms before any payment is due under this Paragraph and Paragraph
 66. The payment of any Fee and Expense Award awarded shall be paid to Johnson Fistel, LLP, as
 Class Counsel, who shall allocate the Fee and Expense Award amongst Plaintiffs’ Counsel in a
 manner that it, in good faith, it believes reflects the contributions of such counsel to the prosecution
 and settlement of the Litigation. After the Settlement Administrator has distributed the Fee and
 Expense Award to Class Counsel, Class Counsel shall solely be responsible for allocating the Fee
 and Expense Award to any such counsel that contributed to the prosecution and settlement of the
 Litigation.

                 68.    The finality or effectiveness of the Settlement and this Agreement will not
 be dependent on the allocation and distribution of the Fee and Expense Award. Any disputes
 regarding the allocation and distribution of the Fee and Expense Award will be handled by and
 between Class Counsel and any such counsel that contributed to the prosecution and settlement of
 the Litigation.

               69.      In the event the Court declines to approve, in whole or in part, the payment
 of the Fee and Expense Award that Class Counsel requests, the remaining provisions of this
 Agreement shall remain in full force and effect. No order of the Court, or modification or reversal
 or appeal of any order of the Court, concerning the Fee and Expense Award shall constitute
 grounds for cancellation or termination of this Agreement.

        XIII.   TERMINATION

                 70.     Lincare shall have the right to, in its sole discretion, terminate the
 Agreement if a certain percentage of the total number of Settlement Class Members submit valid
 requests to opt out as separately agreed to by the Parties and submitted to the Court for in camera
 review. In no event will Class Counsel, Settlement Class Representatives, Lincare’s corporate
 officers, or Lincare’s counsel encourage Class Members to opt-out.

                71.    This Settlement may be terminated by Settlement Class Representatives or
 Lincare by serving on counsel for the opposing Parties and filing with the Court a written notice
 of termination within fourteen (14) days (or such longer time as may be agreed between Class
 Counsel and Lincare’s counsel) after any of the following occurrences:

                        a.      Class Counsel and Lincare’s counsel all agree to termination before


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                                the Effective Date;

                        b.      The Court rejects, materially modifies, materially amends or
                                changes, or declines to preliminarily or finally approve the
                                Settlement;

                        c.      An appellate court reverses the Final Judgment, and the Settlement
                                is not reinstated and finally approved without material change by the
                                Court on remand;

                        d.      The Court or any reviewing appellate court incorporates material
                                terms or provisions into, or deletes or strikes material terms or
                                provisions from, or materially modifies, amends, or changes, the
                                Preliminary Approval Order, the proposed Final Judgment, or the
                                Settlement; or

                        e.      The Effective Date does not occur.

                 72.     In the event of a termination as provided in Paragraph 70 or 71, or if the
 Court disapproves, rejects, or alters any of the Settlement terms contained in this Agreement for
 any reason, this Agreement shall be considered null and void, and the certification for settlement
 purposes of the Settlement Class will be vacated; all of the Parties’ obligations under the
 Agreement shall cease to be of any force and effect; and the Parties shall return to the status quo
 ante in the Litigation as of May 13, 2018. In addition, in the event of such a termination, all of the
 Parties’ respective pre-Settlement claims and defenses will be preserved.

       XIV.     MISCELLANEOUS

                  73.    Publicity. Plaintiffs’ Counsel and/or the Settlement Class Representatives
 will not issue press releases, disseminate any statements or information via social media, or
 otherwise initiate public statements regarding the Settlement. Provided, however, Plaintiffs’
 Counsel may disseminate information regarding the Settlement and the Litigation for the purpose
 of inclusion in Plaintiffs’ Counsel’s respective firm résumés (as submitted from time to time to
 courts during the course of litigation), may discuss the Settlement and the Litigation in connection
 with other litigation in which Plaintiffs’ Counsel is involved or may become involved, and may
 discuss the Settlement and Litigation in their respective firm newsletters which are transmitted
 periodically to firm clients and posted on Plaintiffs’ Counsel’s respective firm websites. The
 Parties will not make statements of any kind to any third-party regarding the Settlement prior to
 the filing of a motion for preliminary approval with the Court, with the exception of the Settlement
 Administrator. The Parties may make public statements to the Court as necessary to obtain
 preliminary or final approval of the Settlement, and Class Counsel will not be prohibited from
 communicating with any person in the Settlement Class regarding the Litigation or the Settlement.
 In all communications, the Parties must comply with all confidentiality agreements in the
 Litigation and not disclose information that is not a part of the public record.

               74.    Destruction of Confidential Documents. Consistent with all confidentiality
 agreements in the Litigation, the originals and all copies of all confidential documents and/or
 information subject to all confidentiality agreements (“Confidential Information”) shall be


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 returned to the producing party within 30 days after the Effective Date. The parties may agree in
 writing that certain Confidential Information may be destroyed in lieu of being returned. Nothing
 in the Agreement shall require attorney work product or pleading files to be returned or destroyed,
 provided that any such retained materials remain subject to the terms of the confidentiality
 agreement.

                 75.     Change of Time Periods. The time periods and/or dates described in this
 Agreement with respect to the giving of notices and hearings are subject to approval and change
 by the Court, or by written agreement of Class Counsel and Lincare’s counsel and as approved by
 the Court, without notice to Settlement Class Members. The Parties reserve the right, by agreement
 and subject to the Court’s approval, to grant any reasonable extension of time that might be needed
 to carry out any of the provisions of this Agreement.

                76.     Singular and Plurals. As used in this Agreement, all references to the plural
 shall also mean the singular, and to the singular shall also mean the plural, whenever the context
 so indicates.

                 77.    Binding Effect. This Agreement shall be binding upon, and inure to the
 benefit of, the successors and assigns of the Releasing Parties and the Released Parties.

                 78.    Cooperation of Parties. The Parties to this Agreement agree to cooperate in
 good faith to prepare and execute all documents, to seek Court approval, defend Court approval,
 and to do all things reasonably necessary to complete and effectuate the Settlement described in
 this Agreement.

                 79.     Obligation to Meet and Confer. Before filing any motion in the Court
 raising a dispute arising out of or related to this Agreement, the Parties shall consult with each
 other and certify to the Court that they have consulted in good faith.

                  80.    Integration. This Agreement (along with any Exhibits attached hereto)
 constitutes a single, integrated written contract expressing the entire agreement of the Parties
 relative to the subject matter hereof. With the exception of the agreement referenced in Paragraph
 70, no covenants, agreements, representations, or warranties of any kind whatsoever have been
 made by any Party hereto, except as provided for herein (and in any Exhibits attached hereto).

              81.     No Conflict Intended. Any inconsistency between the headings used in this
 Agreement and the text of the paragraphs of this Agreement shall be resolved in favor of the text.

                82.    Governing Law. The Agreement shall be construed in accordance with, and
 be governed by, the laws of the State of Florida, without regard to the principles thereof regarding
 choice of law.

                83.     Counterparts. This Agreement may be executed in any number of
 counterparts, each of which shall be deemed an original, but all of which together shall constitute
 one and the same instrument, even though all signatories do not sign the same counterparts.
 Original signatures are not required. Any signature submitted by facsimile or through email of an
 Adobe PDF shall be deemed an original.



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                 84.     Jurisdiction. The Court shall retain jurisdiction over the implementation,
 enforcement, and performance of this Agreement, and shall have exclusive jurisdiction over any
 suit, action, proceeding, or dispute arising out of or relating to this Agreement that cannot be
 resolved by negotiation and agreement by counsel for the Parties. The Court shall retain
 jurisdiction with respect to the administration, consummation, and enforcement of the Agreement
 and shall retain jurisdiction for the purpose of enforcing all terms of the Agreement. The Court
 shall also retain jurisdiction over all questions and/or disputes related to the Notice Program and
 the Settlement Administrator. As part of its agreement to render services in connection with this
 Settlement, the Settlement Administrator shall consent to the jurisdiction of the Court for this
 purpose.

                85.     Notices. All notices to Class Counsel provided for herein, shall be sent by
 overnight mail to:

                       JOHNSON FISTEL, LLP
                       Michael I. Fistel, Jr.
                       David A. Weisz
                       Murray House
                       40 Powder Springs Street
                       Marietta, GA 30064
                       Telephone: (770) 200-3104
                       Facsimile: (770) 200-3101
                       Email: MichaelF@johnsonfistel.com
                               DavidW@johnsonfistel.com

                All notices to Lincare provided for herein, shall be sent by overnight mail to:

                        PHELPS DUNBAR LLP
                        Michael S. Hooker
                        Jason A. Pill
                        100 South Ashley Drive, Suite 1900
                        Tampa, Florida 33602
                        Telephone: (813) 472-7550
                        Facsimile: (813) 472-7570
                        Email: Michael.Hooker@phelps.com
                               Jason.Pill@phelps.com

        The notice recipients and addresses designated above may be changed by written notice.
 Upon the request of any of the Parties, the Parties agree to promptly provide each other with copies
 of objections, requests for exclusion, or other filings received as a result of the Notice Program.

                86.    Authority. Any person executing this Agreement in a representative
 capacity represents and warrants that he or she is fully authorized to do so and to bind the Party on
 whose behalf he or she signs this Agreement to all of the terms and provisions of this Agreement.




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                                      CERTIFICATE OF SERVICE

         The undersigned counsel certifies that on this day, he electronically filed the above and foregoing

 with the Clerk of Court using the CM/ECF system, which will automatically send email notification of such

 filing to all attorneys of record.


                                                JOHNSON FISTEL, LLP
                                                            /s/ Michael I Fistel, Jr.
                                                  MICHAEL I. FISTEL, JR. (admitted pro hac vice)

                                                Murray House
                                                40 Powder Springs Street
                                                Marietta, GA 30064
                                                Telephone: (770) 200-3104
                                                Facsimile: (770) 200-3101
                                                Email: MichaelF@johnsonfistel.com




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